Fill in this information to identify your case:


     United States Bankruptcy Court for the:
                  NORTHERN                           District of   OHIO
     Case number                                                    Chapter you are filing under:
     (If known)
                                                                      o     Chapter 7
                                                                      o     Chapter 11
                                                                      o     Chapter 12
                                                                      ý     Chapter 13                                                      o   Check if this is an
                                                                                                                                                amended filing

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                       12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a
car,” the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1
and Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2.
The same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:           Identify Yourself

                                               About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
1.     Your full name
       Write the name that is on your
       government-issued picture         Deborah                                                               Ira
       identification (for example, your First name                                                            First name
       driver’s license or passport).
       Bring your picture                      Middle name                                                     Middle name
       identification to your meeting
       with the trustee.                       Traylor                                                         Traylor
                                               Last name                                                       Last name



                                               Suffix (Sr., Jr., II, III)                                      Suffix (Sr., Jr., II, III)


2.     All other names you have
       used in the last 8 years                First name                                                      First name
       Include your married or
       maiden names.                           Middle name                                                     Middle name


                                               Last name                                                       Last name



                                               First name                                                      First name


                                               Middle name                                                     Middle name


                                               Last name                                                       Last name



3.     Only the last 4 digits of
       your Social Security                    xxx       – xx – _1_ _3_ _5_ _0_                                xxx       – xx – _2_ _4_ _1_ _9_
       number or federal                       OR                                                              OR
       Individual Taxpayer
       Identification number                   9 xx – xx –__ __ __ __                                          9 xx – xx –__ __ __ __
       (ITIN)

Official Form 101                                                   Voluntary Petition for Individuals Filing for Bankruptcy                                  page 1




                  19-13919-aih            Doc 1                    FILED 06/24/19                   ENTERED 06/24/19 16:55:41               Page 1 of 7
Debtor 1     Deborah                                        Traylor                                 Case number (if known)
             First Name        Middle Name                  Last Name


                                   About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4. Any business names and
   Employer Identification         ý       I have not used any business names or EINs.           ý       I have not used any business names or EINs.
   Numbers (EIN) you have
   used in the last 8 years
   Include trade names and         Business name                                                 Business name
   doing business as names


                                   Business name                                                 Business name



                                      –                                                             –
                                   EIN                                                           EIN


                                      –                                                             –
                                   EIN                                                           EIN


5. Where you live                                                                                If Debtor 2 lives at a different address:



                                   760             East 260th Street
                                   Number          Street                                        Number          Street




                                   Euclie                                   Oh       44132
                                   City                                     State    ZIP Code    City                                     State    ZIP Code



                                   Cuyahoga
                                   County                                                        County


                                   If your mailing address is different from the one             If Debtor 2’s mailing address is different from the
                                   above, fill it in here. Note that the court will send         one above, fill it in here. Note that the court will
                                   any notices to you at this mailing address.                   send any notices to you at this mailing address.



                                   Number          Street                                        Number          Street




                                   City                                     State    ZIP Code    City                                     State    ZIP Code


6. Why you are choosing            Check one:                                                    Check one:
   this district to file for
   bankruptcy                      ý Over the last 180 days before filing this petition, I       ý Over the last 180 days before filing this petition, I
                                          have lived in this district longer than in any other          have lived in this district longer than in any other
                                          district.                                                     district.

                                   o I have another reason. Explain.                             o I have another reason. Explain.
                                          (See 28 U.S.C. § 1408.)                                       (See 28 U.S.C. § 1408.)




Official Form 101                                   Voluntary Petition for Individuals Filing for Bankruptcy                                            page 2



           19-13919-aih          Doc 1           FILED 06/24/19                ENTERED 06/24/19 16:55:41                        Page 2 of 7
Debtor 1     Deborah                                         Traylor                               Case number (if known)
             First Name        Middle Name                   Last Name


Part 2:    Tell the Court About Your Bankruptcy Case


7. The chapter of the               Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals
   Bankruptcy Code you are          Filing for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
   choosing to file under
                                    o    Chapter 7

                                    o    Chapter 11

                                    o    Chapter 12

                                    ý    Chapter 13

8. How you will pay the fee         ý        I will pay the entire fee when I file my petition. Please check with the clerk’s office in
                                             your local court for more details about how you may pay. Typically, if you are paying the
                                             fee yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                             submitting your payment on your behalf, your attorney may pay with a credit card or
                                             check with a pre-printed address.

                                    o        I need to pay the fee in installments. If you choose this option, sign and attach the
                                             Application for Individuals to Pay Your Filing Fee in Installments (Official Form 103A).

                                    o        I request that my fee be waived (You may request this option only if you are filing for
                                             Chapter 7. By law, a judge may, but is not required to, waive your fee, and may do so only
                                             if your income is less than 150% of the official poverty line that applies to your family size
                                             and you are unable to pay the fee in installments). If you choose this option, you must fill
                                             out the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file
                                             it with your petition.

9. Have you filed for               ý    No
   bankruptcy within the last
   8 years?                         o    Yes.     District                            When                     Case number
                                                                                              MM / DD / YYYY

                                                  District                            When                     Case number
                                                                                              MM / DD / YYYY

                                                  District                            When                     Case number
                                                                                              MM / DD / YYYY



10. Are any bankruptcy              ý    No
    cases pending or being
    filed by a spouse who is        o    Yes.     Debtor                                                       Relationship to you
    not filing this case with
                                                  District                            When                     Case number, if known
    you, or by a business                                                                     MM / DD / YYYY
    partner, or by an affiliate?


                                                  Debtor                                                       Relationship to you

                                                  District                            When                     Case number, if known
                                                                                              MM / DD / YYYY



11. Do you rent your                ý    No.      Go to line 12.
    residence?                      o    Yes.     Has your landlord obtained an eviction judgment against you?

                                                  o     No. Go to line 12.

                                                  o     Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file
                                                         it with this bankruptcy petition.




Official Form 101                                   Voluntary Petition for Individuals Filing for Bankruptcy                                     page 3




           19-13919-aih            Doc 1         FILED 06/24/19              ENTERED 06/24/19 16:55:41                      Page 3 of 7
Debtor 1        Deborah                                            Traylor                                    Case number (if known)
                First Name          Middle Name                    Last Name


Part 3:        Report About Any Businesses You Own as a Sole Proprietor

12.   Are you a sole proprietor
      of any full- or part-time
                                         ý              No. Go to Part 4.

      business?                          o              Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an
      individual, and is not a                         Name of business, if any
      separate legal entity such as a
      corporation, partnership, or
      LLC.
      If you have more than one sole                   Number        Street
      proprietorship, use a separate
      sheet and attach it to this
      petition.

                                                        City                                                      State        ZIP Code


                                                       Check the appropriate box to describe your business:

                                                       o       Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                       o       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                       o       Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                       o       Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                       o       None of the above


13.   Are you filing under               If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                  can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and are            most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
                                         if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      you a small business
      debtor?
      For a definition of small
                                         ý        No.    I am not filing under Chapter 11.
      business debtor, see 11
      U.S.C. § 101(51D).                 o        No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition
                                                         in the Bankruptcy Code.

                                         o        Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                       Bankruptcy Code.

Part 4:        Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14.   Do you own or have any             ý        No
      property that poses or is
      alleged to pose a threat of        o        Yes. What is the hazard?
      imminent and identifiable
      hazard to public health or
      safety? Or do you own
      any property that needs
      immediate attention?                              If immediate attention is needed, why is it needed?
      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?


                                                        Where is the property?
                                                                                   Number        Street




                                                                                   City                                            State      ZIP Code


Official Form 101                                          Voluntary Petition for Individuals Filing for Bankruptcy                                       page 4




              19-13919-aih              Doc 1           FILED 06/24/19                ENTERED 06/24/19 16:55:41                            Page 4 of 7
Debtor 1        Deborah                                        Traylor                                   Case number (if known)
                First Name          Middle Name                Last Name


Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling

                                          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received
      briefing about credit               You must check one:                                          You must check one:
      counseling.
                                          ý I received a briefing from an approved credit              ý I received a briefing from an approved credit
      The law requires that you              counseling agency within the 180 days before I               counseling agency within the 180 days before I
      receive a briefing about credit        filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
      counseling before you file for         certificate of completion.                                   certificate of completion.
      bankruptcy. You must truthfully        Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
      check one of the following             plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
      choices. If you cannot do so,
      you are not eligible to file.
                                          o I received a briefing from an approved credit              o I received a briefing from an approved credit
                                             counseling agency within the 180 days before I               counseling agency within the 180 days before I
      If you file anyway, the court can      filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
      dismiss your case, you will lose       a certificate of completion.                                 a certificate of completion.
      whatever filing fee you paid,
      and your creditors can begin           Within 14 days after you file this bankruptcy                Within 14 days after you file this bankruptcy
      collection activities again.           petition, you MUST file a copy of the certificate and        petition, you MUST file a copy of the certificate and
                                             payment plan, if any.                                        payment plan, if any.

                                          o I certify that I asked for credit counseling               o I certify that I asked for credit counseling
                                             services from an approved agency, but was                    services from an approved agency, but was
                                             unable to obtain those services during the 7                 unable to obtain those services during the 7
                                             days after I made my request, and exigent                    days after I made my request, and exigent
                                             circumstances merit a 30-day temporary waiver                circumstances merit a 30-day temporary waiver
                                             of the requirement.                                          of the requirement.
                                             To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
                                             requirement, attach a separate sheet explaining              requirement, attach a separate sheet explaining
                                             what efforts you made to obtain the briefing, why            what efforts you made to obtain the briefing, why
                                             you were unable to obtain it before you filed for            you were unable to obtain it before you filed for
                                             bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
                                             required you to file this case.                              required you to file this case.

                                             Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                                             dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                                             briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.
                                             If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                                             still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                                             You must file a certificate from the approved                You must file a certificate from the approved
                                             agency, along with a copy of the payment plan you            agency, along with a copy of the payment plan you
                                             developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                                             may be dismissed.                                            may be dismissed.
                                             Any extension of the 30-day deadline is granted              Any extension of the 30-day deadline is granted
                                             only for cause and is limited to a maximum of 15             only for cause and is limited to a maximum of 15
                                             days.                                                        days.

                                          o I am not required to receive a briefing about              o I am not required to receive a briefing about
                                             credit counseling because of:                                credit counseling because of:

                                             o Incapacity.      I have a mental illness or a              o Incapacity.      I have a mental illness or a
                                                                mental deficiency that makes me                              mental deficiency that makes me
                                                                incapable of realizing or making                             incapable of realizing or making
                                                                rational decisions about finances.                           rational decisions about finances.


                                             o Disability.      My physical disability causes me          o Disability.      My physical disability causes me
                                                                to be unable to participate in a                             to be unable to participate in a
                                                                briefing in person, by phone, or                             briefing in person, by phone, or
                                                                through the internet, even after I                           through the internet, even after I
                                                                reasonably tried to do so.                                   reasonably tried to do so.


                                             o Active duty. I am currently on active military             o Active duty. I am currently on active military
                                                                duty in a military combat zone.                              duty in a military combat zone.

                                             If you believe you are not required to receive a             If you believe you are not required to receive a
                                             briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                                             motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.

Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                           page 5


              19-13919-aih                Doc 1     FILED 06/24/19                ENTERED 06/24/19 16:55:41                        Page 5 of 7
Debtor 1      Deborah                                        Traylor                                    Case number (if known)
              First Name        Middle Name                  Last Name


Part 6:      Answer These Questions for Reporting Purposes

                                      16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                           o       No. Go to line 16b.
                                           ý       Yes. Go to line 17.

                                      16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.

                                           ý       No. Go to line 16c.
                                           o       Yes. Go to line 17.

                                      16c. State the type of debts you owe that are not consumer debts or business debts.



17.   Are you filing under
      Chapter 7?                      ý    No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after      o    Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is                 administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and
      administrative expenses                  o      No
      are paid that funds will be
      available for distribution               o      Yes
      to unsecured creditors?

18.   How many creditors do           ý     1-49                             o     1,000-5,000                          o        25,001-50,000
      you estimate that you           o     50-99                            o     5,001-10,000                         o        50,001-100,000
      owe?                            o     100-199                          o     10,001-25,000                        o        More than 100,000
                                      o     200-999

19.   How much do you                 ý     $0-$50,000                       o     $1,000,001-$10 million               o        $500,000,001-$1 billion
      estimate your assets to
      be worth?                       o     $50,001-$100,000                 o     $10,000,001-$50 million              o        $1,000,000,001-$10 billion
                                      o     $100,001-$500,000                o     $50,000,001-$100 million             o        $10,000,000,001-$50 billion
                                      o     $500,001-$1 million              o     $100,000,001-$500 million            o        More than $50 billion

20.   How much do you                 ý     $0-$50,000                       o     $1,000,001-$10 million               o        $500,000,001-$1 billion
      estimate your liabilities to
      be?                             o     $50,001-$100,000                 o     $10,000,001-$50 million              o        $1,000,000,001-$10 billion
                                      o     $100,001-$500,000                o     $50,000,001-$100 million             o        $10,000,000,001-$50 billion
                                      o     $500,001-$1 million              o     $100,000,001-$500 million            o        More than $50 billion
Part 7:      Sign Below

                                      I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                               correct.
                                      If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12, or
                                      13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                      under Chapter 7.
                                      If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                      this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                      I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                      I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                      with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                      18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                      û/S/ Deborah            Traylor                                û/S/ Ira       Traylor
                                          Signature of Debtor 1                                          Signature of Debtor 2

                                          Executed on        06/17/2019                                  Executed on      06/17/2019
                                                           MM / DD / YYYY                                               MM / DD / YYYY

Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                             page 6



             19-13919-aih            Doc 1         FILED 06/24/19             ENTERED 06/24/19 16:55:41                            Page 6 of 7
Debtor 1     Deborah                                     Traylor                                 Case number (if known)
             First Name     Middle Name                  Last Name


                                 I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
For your attorney, if you are    eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
represented by one               relief available under each chapter for which the person is eligible. I also certify that I have delivered to the
                                 debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I
                                 have no knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
If you are not represented by
an attorney, you do not need
to file this page.               û/S/ Arleesha Wilson                                              Date               06/17/2019
                                    Signature of Attorney for Debtor                                                 MM / DD / YYYY




                                    Arleesha Wilson
                                    Printed name


                                     Law Office of Arleesha Wilson
                                    Firm name


                                    4208        Prospect Ave
                                    Number      Street




                                    Cleveland                                                     Ohio            44104
                                    City                                                          State           ZIP Code




                                    Contact phone 2166887112                                      Email address    justice@attorneyawilson.com




                                    97351                                                         Ohio
                                    Bar number                                                    State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                         page 7




           19-13919-aih         Doc 1        FILED 06/24/19             ENTERED 06/24/19 16:55:41                            Page 7 of 7
